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                       THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

RICARDO ONOROTO,                             )
                                             )
                      PLAINTIFF,             )
                                             )
               vs.                           )       Case No. 18-cv-01040
                                             )
FIRSTSOURCE ADVANTAGE, LLC,                  )       Hon. Robert W. Gettleman
                                             )
                      DEFENDANT.             )       Magistrate Judge M. David Weisman



                                STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED to by Plaintiff and Plaintiff’s attorney and
the Defendant and Defendant’s attorneys, that pursuant to Rule 41(a) (1) (A) (ii) of the Federal
Rules of Civil Procedure, the above-titled action against the Defendant shall be and hereby is
dismissed with prejudice and on the merits, with each side to bear its own fees and costs.

Dated: May 29, 2018


        Counsel for Plaintiff                                Counsel for Defendant

        s/Celetha Chatman                                   s/ Matthew D. Kelly
        Celetha Chatman                                     Matthew D. Kelly
        Michael Wood                                         Segal McCambridge Singer, & Mahoney
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                                     CERTIFICATE OF SERVICE

        I, Celetha Chatman, an attorney, hereby certify that on May 29, 2018, I electronically

filed the foregoing document using the CM/ECF system, which will send notification of such

filing to all attorneys of record.


 Dated: May 29, 2018                                                        Respectfully submitted,


                                                                      By:      /s/ Celetha Chatman
